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 5

 6
                               UNITED STATES BANKRUPTCY COURT
 7
                                        DISTRICT OF ARIZONA
 8
      In re:                                          Proceedings in Chapter 13
 9
      KAREN LYNNE VAN WIE,                            No. 4:07-00469 TUC EWH
10
                Debtor.
11
      JPMORGAN CHASE BANK, N.A.,                      MOTION FOR PRE-CONFIRMATION
12                                                    ADEQUATE PROTECTION AND
                Movant,                               INTERIM COMPENSATION
13
      vs.
14
      KAREN LYNNE VAN WIE, Debtor, and
15    DIANNE C. KERNS, Trustee,

16              Respondents.

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               JPMORGAN CHASE BANK, N.A., (hereinafter “Movant” or “Chase”) by and
18
     through its attorneys, Patricia Doyle-Kossick, P.L.C., hereby requests adequate protection of
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     its secured claim pursuant to 11 U.S.C. §363(e). In support of its Motion, Chase represents as
20
     follows:
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               1.     The Debtor filed a chapter 13 bankruptcy on March 26, 2007.
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               2.     Chase is the secured creditor on the Debtor’s 2004 Toyota Rav4, VIN
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     JTEGD20V540040554. Movant has a valid and perfected lien on this property for the
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 1   outstanding principal balance of $6,694.83, plus accrued and accruing interest, costs and

 2   attorneys’ fees. True and correct copies of the Promissory Note, Consumer Security

 3   Agreement and Arizona Department of Transportation Certificate of Title evidencing the

 4   above-described secured indebtedness are attached hereto as Exhibits “A”, “B” and “C” and

 5   are by this reference incorporated herein.

 6           3.      The Debtor’s amended chapter 13 plan was filed on July 3, 2007. As of the

 7   date of filing this motion, the Debtor’ chapter 13 plan has not been confirmed.

 8           4.      The Debtor’s account with Chase is delinquent. Chase is not receiving any

 9   compensation to protect against the depreciation of the property.

10           5.      The chapter 13 plan values Chase’s secured claim in the full amount of the

11   debt owed to Chase. The value of the 2004 Toyota Rav4 is $17,780.00. The plan does not

12   propose any adequate protection to Movant.

13           6.      Section 1326(a)(1)(C) requires that adequate protection shall commence “not

14   later than 30 days after the date of the filing of the plan or the order for relief, whichever is

15   earlier.” Chase requests adequate protection in the amount of one percent of the value of the

16   secured claim to be paid inside the plan, $178.00, be paid to Chase immediately, beginning

17   from the first plan payment received by the Trustee and continuing until Chase begins to

18   receive its usual plan payments on its secured claim.

19           7.      Any adequate protection payments received by Chase will be credited towards

20   the amount of Chase’s secured claim to be paid through the plan. Chase further requests that

21   in the event that the case is either dismissed or converted, any adequate protection payments

22   that have been accumulated by the trustee on behalf of Chase, shall be paid to Chase in the

23   accumulated amount, except that in the event that there is insufficient funding to pay the

24   adequate protection and administrative claims, that the adequate protection and administrative

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 1   claims shall be paid pro rata. The trustee shall be entitled to her statutory fee for any adequate

 2   protection payments paid.

 3          WHEREFORE, JPMorgan Chase Bank, N.A., requests that the Court enter its order

 4   granting the following relief:

 5          1. Granting JPMorgan Chase Bank, N.A. adequate protection in the amount of

 6   $178.00 per month, retroactive back to the first plan payment, and continuing until Chase’s

 7   secured claim begins to receive its regular plan payments, or until the case is dismissed or

 8   converted;

 9          2. The trustee’s office shall immediately disburse the adequate protection to Chase,

10   even prior to confirmation. If the case is either dismissed or converted, any adequate

11   protection payments that have been accumulated by the trustee on behalf of Chase, shall be

12   paid to Chase in the accumulated amount.

13          3. For such other and further relief as is just and equitable.

14          RESPECTFULLY SUBMITTED this 31st day of July, 2007.

15
                                           PATRICIA DOYLE-KOSSICK, P.L.C.
16                                         /s/ Patricia Doyle-Kossick SBN 010217
                                           PATRICIA DOYLE-KOSSICK
17                                         Attorney for Movant

18
     Copy of the foregoing mailed
19   the 31st day of July, 2007 to:

20

21   Karen Lynne Van Wie
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22   Tucson, AZ 85757-9395

23   Alan R. Solot
     Tilton & Solot
24   459 N. Granada Avenue
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 1
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 3
     /s/ Patricia Doyle-Kossick
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